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                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York


                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007


                                                      March 22, 2022

BY ECF

The Honorable Edgardo Ramos
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Trevor Milton, 21 Cr. 478 (ER)

Dear Judge Ramos:

       The Government respectfully writes to advise the Court that the parties have, following the
dismissal of the defendant’s interlocutory appeal, conferred and agreed to a revised schedule with
respect to the exchange of certain material and information prior to and during trial pending
confirmation of the currently scheduled trial of July 18, 2022, as a firm trial date by the committee
of the Southern District of New York charged with assigning trial dates. 1 The schedule is as
follows:

       June 6, 2022:           The Government provides to the defendant material covered by 18
                               U.S.C. § 3500, including material pursuant to Giglio v. United
                               States, 405 U.S. 150 (1972).
                               The parties provide notice to each other, consistent with the
                               requirements of Federal Rule of Criminal Procedure 16, of experts
                               potentially to be called, if any, during the Government’s case-in-
                               chief and the defendant’s case.


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        If the committee does not confirm the trial date as a firm trial date, as opposed to a back-
up, the Government may seek an adjournment of trial, in light of the number of witnesses and
complexity of the issues in this trial. The defendant reserves his right to object to any adjournment
request. Should the committee assign a firm date different than July 18, 2022, the parties will
confer in good faith as to whether an adjustment of the above schedule is warranted.
Notwithstanding the foregoing, the parties respectfully submit that the Court should treat July 18,
2022, as the firm trial date for purposes of the issuance of trial subpoenas pursuant to Federal Rule
of Criminal Procedure 17.
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       June 17, 2022:         The Government provides to the defendant a list of witnesses whom
                              the Government reasonably expects to call in its case-in-chief.
                              The Government provides notice to the defendant of evidence it may
                              seek to offer pursuant to Federal Rule of Evidence 404(b).
                              The parties provide notice to each other, consistent with the
                              requirements of Rule 16, of rebuttal experts, if any.
       June 20, 2022:         The parties file motions in limine, proposed requests to charge, and
                              proposed voir dire for jury selection.
       June 27, 2022:         The Government provides to the defendant a list of exhibits the
                              Government reasonably expects to seek to introduce during its case-
                              in-chief. This exhibit list will be subject to good-faith revision as the
                              Government continues to prepare its case for trial, including in
                              response to the defense’s list of proposed exhibits that it anticipates
                              seeking to introduce into evidence during the Government’s case-
                              in-chief.
                              The defendant produces material covered by Federal Rule of
                              Criminal Procedure 16.
       July 1, 2022:          The parties file oppositions to motions in limine, proposed requests
                              to charge, and proposed voir dire for jury selection.
                              Defense counsel provides to the Government a list of exhibits that
                              the defendant reasonably expects to introduce during the
                              Government’s case-in-chief or the defendant’s case. This exhibit list
                              will be subject to good-faith revision as the defense continues to
                              prepare for its case.
                              Defense counsel provides to the Government material covered by
                              Federal Rule of Criminal Procedure 26.2 and a list of witnesses
                              whom the defendant reasonably expects to call in his case.

        The parties recognize that 3500 and Rule 26.2 obligations are continuing, and accordingly
that when new material is generated after the pertinent deadline described above, such material
will be timely provided, i.e., generally the same day it is generated, and prior to the witness to
whom it applies next taking the stand. The defense has also agreed that, consistent with Rule
26.2(c), if the defense intends to withhold any such material on the ground of privilege or work-
product, it will provide that material to the Court for timely review.




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        Both the Government and the defense anticipate timely agreeing to stipulations to avoid
the need to call custodians of records or otherwise to authenticate evidence or the accuracy of
transcripts, and the parties agree that the dates set forth herein do not alter the parties’ reciprocal
discovery obligations or the obligation to produce materials obtained pursuant to Federal Rule of
Criminal Procedure 17(c), absent an order to the contrary.

       Additionally, the defense requests oral argument on the pending pre-trial motions in April
2022. The Government respectfully submits that oral argument is not necessary to resolve these
motions. Should the Court desire oral argument, however, the Government is available in April
2022.

                                                       Respectfully submitted,

                                                       DAMIAN WILLIAMS
                                                       United States Attorney for the
                                                       Southern District of New York


                                                By:     s/
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cc:    Counsel of Record (by ECF)




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